       Case 22-18303-JKS               Doc 161 Filed 10/07/23 Entered 10/08/23 00:15:46                                 Desc
                                      Imaged Certificate of Notice Page 1 of 8
Form 137 − aplccmpn

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                         Case No.: 22−18303−JKS
                                         Chapter: 11
                                         Judge: John K. Sherwood

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Alexandre J. Dacosta                                     Vivianne C. Antunes
   80 Columbia Avenue                                       80 Columbia Avenue
   Kearny, NJ 07032                                         Kearny, NJ 07032
Social Security No.:
   xxx−xx−2325                                              xxx−xx−0411
Employer's Tax I.D. No.:


                      NOTICE OF HEARING ON APPLICATION FOR COMPENSATION

      NOTICE IS HEREBY GIVEN that there will be a hearing held before the honorable John K. Sherwood on:

Date:     11/2/23
Time:     10:00 AM
Location: Courtroom 3D, Martin Luther King, Jr. Federal Building, 50 Walnut Street, Courtroom 3D, Newark, NJ
07102
for the purpose of acting on applications for compensation. Attendance by debtor(s) or creditors is welcome, but not
required.

      The following applications for compensation have been filed:

APPLICANT(S)
Mark Politan, Trustee Chapter 11

COMMISSION OR FEES
$3,880.00

EXPENSES
$50.00

If this is a chapter 13 case, the fees and expenses awarded:

                will not reduce the amount to be paid to general unsecured
                creditors under the plan.

                will reduce the amount to be paid to general unsecured
                creditors under the plan as follows:

Debtor(s) or other parties who wish to object must file an objection not later than 7 days prior to the hearing date.
Objections must be filed with the Court and served on the applicant and other interested parties.

      An appearance is not required on an application for compensation unless an objection is filed.
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Dated: October 5, 2023
JAN:

                                              Jeanne Naughton
                                              Clerk
            Case 22-18303-JKS                    Doc 161 Filed 10/07/23 Entered 10/08/23 00:15:46                                               Desc
                                                Imaged Certificate of Notice Page 3 of 8
                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 22-18303-JKS
Alexandre J. Dacosta                                                                                                   Chapter 11
Vivianne C. Antunes
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 0312-2                                                  User: admin                                                                 Page 1 of 6
Date Rcvd: Oct 05, 2023                                               Form ID: 137                                                              Total Noticed: 91
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Oct 07, 2023:
Recip ID                   Recipient Name and Address
db/jdb                 +   Alexandre J. Dacosta, Vivianne C. Antunes, 80 Columbia Avenue, Kearny, NJ 07032-2948
aty                    +   Christopher V. Arisco, Padfield & Stout, LLP, 420 Throckmorton Street, Suite 1210, Fort Worth, TX 76102-3792
aty                    +   Norgaard O'Boyle & Hannon, Norgaard O'Boyle & Hannon, 184 Grand Avenue, Englewood, NJ 07631-3578
aty                    +   Ocwen C. Babcock, Padfield & Stout, LLP, 420 Throckmorton Street, Suite 1210, Fort Worth, TX 76102-3792
cr                     +   Auction Credit Enterprises, LLC, c/o Stark & Stark, PC, 993 Lenox Drive, Bldg. 2, Lawrenceville, NJ 08648-2316
intp                   +   BAV AUTO, L.L.C., 80 Columbia Avenue, Kearny, NJ 07032-2948
acc                    +   Guzman Consulting Group, LLC, 540 Fairview Avenue, Colonia, NJ 07067-3515
cr                     +   Thrift Investment Corporation, PO Box 538, Fords, NJ 08863-0538
cr                     +   XL Funding, LLC dba Axle Funding, LLC fka Auction, c/o Stark & Stark, PC, 993 Lenox Drive, Bldg. 2, Lawrenceville, NJ 08648-2316
519763696                  131 Union Street LLC, 131 Union St, Newark, NJ 07105-1346
519763699              #   Auction Credit Enterprise LLC, 14951 Dallas Pkwy Ste 200, Dallas, TX 75254-6883
519763700                  Automotive Finance Corp. of NJ, 200 N Main St, Manville, NJ 08835-1357
519763706              +   CFG Merchant Solutions, LLC, 180 Maiden Ln Fl 15, New York, NY 10038-5150
519763711                  Dealer Capital Group INc., 67 Crystal St, Avenel, NJ 07001-1125
519763713                  Discover Personal Loans, PO Box 15316, Wilmington, DE 19850-5316
519740577              +   Duane Morris LLP, 1 Riverfront Plz Ste 1800, Newark, NJ 07102-3889
519763714              +   Duane Morris LLP, 30 S 17th St # S, Philadelphia, PA 19103-4196
519763715                  Ernesto Gonzalez, 361 S Broad St, Elizabeth, NJ 07202-3515
519870418                  First Help Financial, PO Box 95517, Chicago, IL 60694-5517
519763717                  Hallandale Beach, FL 33009-4723, Jaclyn Sage, 10333 N Meridian St Ste 400, Indianapolis, IN 46290-1112
519763718                  Jeremy Dunn Esq., 11299 Illnois St, Carmel, IN 46032-8887
519763719                  Jersey Express LLC, 23 Lake Dr, North Brunswick, NJ 08902-4828
519763721              #   Jose D. Echevarria, Esq., 11 Broadway Ste 615, New York, NY 10004-1490
519807780                  LightStream, a division of Truist Bank, PO Box 1847, Wilson, NC 27894-1847
519763730              +   Olympic Payroll Services, 64 US Highway 46, Pine Brook, NJ 07058-4401
519763732                  Prosperum Capital Partners LLC, dba Arsenal Funding, 8 West 36th Street Fl 7, New York, NY 10018-9774
519763733                  Proventure Capital, 99 Wall St # 576, New York, NY 10005-4301
519763734                  River Capital Partner LLC, 1 River Rd Ste 200, Cos Cob, CT 06807-2755
519763736                  Shanna Kaminski, Esq., 160 W Fort St Fl 5, Detroit, MI 48226-3700
520038160                  State of New Jersey, Department of the Treasury, Division of Taxation, PO Box 245, Trenton, NJ 08695-0245
519870419                  Steven Pereira, 415 Clarkson Ave, Elizabeth, NJ 07202-3619
519763738                  Steven Zakharyayev, Esq., PO Box 342, Marlboro, NJ 07746-0342
519870420                  Thomas Vanderli, 408 Fulton St, Elizabeth, NJ 07206-1220
519799163              +   Thrift Investment Corporation, 720 King George's Post Rd., PO Box 538, Fords, NJ 08863-0538
519763741                  Trinitas Regional Medcical Center, 225 Williamson St, Elizabeth, NJ 07202-3625
519740578              +   Vero Finance Technoligies Inc. dba Lever, 109 S 5th St Fl 6, Brooklyn, NY 11249-5501
519784671              +   Vero Finance Technologies, Inc. d/b/a Lever Auto, Duane Morris LLP Attn: Drew S. McGehrin, 30 S. 17th Street, Philadelphia, PA
                           19103-4001
519763742              +   Vero Finance dba Lever Auto Financing, 287 Park Ave S Ste 700, New York, NY 10010-4573
519870421                  Vroom Financial Services, PO Box 182055, Columbus, OH 43218-2055
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District/off: 0312-2                                                  User: admin                                                                Page 2 of 6
Date Rcvd: Oct 05, 2023                                               Form ID: 137                                                             Total Noticed: 91
519763743                Westlake Flooring Services Inc., 4751 Wilshire Blvd Ste 100, Los Angeles, CA 90010-3847
519849176              + XL Funding, LLC d/b/a Axle Funding, LLC, Att: Owen Babcock, c/o Padfield Stout, LLP, 420 Throckmorton Street, Suite 1210, Fort
                         Worth, TX 76102-3792

TOTAL: 41

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
smg                       Email/Text: sbse.cio.bnc.mail@irs.gov
                                                                                        Oct 05 2023 20:59:00      Dist Dir of IRS, Insolvency Function, PO Box 724,
                                                                                                                  Springfield, NJ 07081-0724
smg                       Email/Text: usanj.njbankr@usdoj.gov
                                                                                        Oct 05 2023 21:00:00      U.S. Attorney, 970 Broad St., Room 502, Rodino
                                                                                                                  Federal Bldg., Newark, NJ 07102-2534
smg                    + Email/Text: ustpregion03.ne.ecf@usdoj.gov
                                                                                        Oct 05 2023 21:00:00      United States Trustee, Office of the United States
                                                                                                                  Trustee, 1085 Raymond Blvd., One Newark
                                                                                                                  Center, Suite 2100, Newark, NJ 07102-5235
cr                     + Email/PDF: ais.sync.ebn@aisinfo.com
                                                                                        Oct 05 2023 21:04:11      Synchrony Bank c/o PRA Receivables
                                                                                                                  Management, LLC, PO BOX 41021, Norfolk, VA
                                                                                                                  23541-1021
519795501                 Email/Text: bankruptcy@autofinance.com
                                                                                        Oct 05 2023 20:58:00      Automotive Finance Corporation, 11299 N.
                                                                                                                  Illinois St., Carmel, IN 46032
519763697                 Email/Text: ally@ebn.phinsolutions.com
                                                                                        Oct 05 2023 20:58:00      Ally Financial, PO Box 380901, Bloomington,
                                                                                                                  MN 55438-0901
519763698                 Email/PDF: bncnotices@becket-lee.com
                                                                                        Oct 05 2023 21:04:08      American Express, PO Box 981535, El Paso, TX
                                                                                                                  79998-1535
519790727                 Email/PDF: bncnotices@becket-lee.com
                                                                                        Oct 05 2023 21:26:32      American Express National Bank, c/o Becket and
                                                                                                                  Lee LLP, PO Box 3001, Malvern PA 19355-0701
519774689                 Email/Text: bankruptcy@bhg-inc.com
                                                                                        Oct 05 2023 20:58:00      Bankers Healthcare Group, LLC, 201 Solar Street,
                                                                                                                  Syracuse, NY 13204
519763701                 Email/Text: creditcardbkcorrespondence@bofa.com
                                                                                        Oct 05 2023 20:58:00      Bank of America, PO Box 45144, Jacksonville, FL
                                                                                                                  32232-5144
519748756                 Email/Text: creditcardbkcorrespondence@bofa.com
                                                                                        Oct 05 2023 20:58:00      Bank of America, N.A., PO BOX 31785, Tampa,
                                                                                                                  FL 33631-3785
519770405              + Email/Text: bankruptcy@pnfp.com
                                                                                        Oct 05 2023 21:01:00      Banker's Healthcare Group c/o Pinnacle Bank, 150
                                                                                                                  3rd Ave S STE 900, Nashville, TN 37201-2034
519763702                 Email/Text: BarclaysBankDelaware@tsico.com
                                                                                        Oct 05 2023 20:59:00      Barclays Bank Delaware, PO Box 8803,
                                                                                                                  Wilmington, DE 19899-8803
519763703              + Email/PDF: MarletteBKNotifications@resurgent.com
                                                                                        Oct 05 2023 21:04:32      Best Egg, PO Box 42912, Philadelphia, PA
                                                                                                                  19101-2912
519763710                 Email/Text: bankruptcy@deltabridgefunding.com
                                                                                        Oct 05 2023 20:58:00      Cloudfund LLC, 400 Rella Blvd Ste 165-101,
                                                                                                                  Suffern, NY 10901-4241
519763704                 Email/PDF: AIS.cocard.ebn@aisinfo.com
                                                                                        Oct 05 2023 21:04:13      Capital One, PO Box 31293, Salt Lake City, UT
                                                                                                                  84131-0293
519763705                 Email/PDF: AIS.cocard.ebn@aisinfo.com
                                                                                        Oct 05 2023 21:04:07      Capital One Bank USA NA, PO Box 30281, Salt
                                                                                                                  Lake City, UT 84130-0281
519769803              + Email/PDF: ebn_ais@aisinfo.com
                                                                                        Oct 05 2023 21:14:51      Capital One N.A., 4515 N Santa Fe Ave,
                                                                                                                  Oklahoma City, OK 73118-7901
519763709              + Email/Text: ebn@rwjbh.org
                                                                                        Oct 05 2023 21:01:00      Clara Maas Medical Center, 1 Clara Maass Dr,
                                                                                                                  Belleville, NJ 07109-3557
519763712                 Email/Text: mrdiscen@discover.com
                                                                                        Oct 05 2023 20:58:00      Discover Bank, PO Box 30939, Salt Lake City, UT
                                                                                                                  84130-0939
519786637                 Email/Text: mrdiscen@discover.com
                                                                                        Oct 05 2023 20:58:00      Discover Bank/Discover Products Inc., P.O. Box
                                                                                                                  3025, New Albany, Oh 43054-3025
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Date Rcvd: Oct 05, 2023                                     Form ID: 137                                                       Total Noticed: 91
519795523          Email/Text: JCAP_BNC_Notices@jcap.com
                                                                           Oct 05 2023 21:00:00   Jefferson Capital Systems LLC, Po Box 7999,
                                                                                                  Saint Cloud MN 56302-9617
519763723          Email/PDF: ais.chase.ebn@aisinfo.com
                                                                           Oct 05 2023 21:14:57   JP Morgan Chase Ban, PO Box 15369,
                                                                                                  Wilmington, DE 19850-5369
519763707          Email/PDF: ais.chase.ebn@aisinfo.com
                                                                           Oct 05 2023 21:04:12   Chase Amazon, PO Box 15298, Wilmington, DE
                                                                                                  19850-5298
519763708          Email/PDF: ais.chase.ebn@aisinfo.com
                                                                           Oct 05 2023 21:04:18   Chase Card, PO Box 15298, Wilmington, DE
                                                                                                  19850-5298
519763722          Email/PDF: ais.chase.ebn@aisinfo.com
                                                                           Oct 05 2023 21:14:51   JP Morgan Chase, 700 Kansas Ln, Monroe, LA
                                                                                                  71203-4774
519798352          Email/PDF: ais.chase.ebn@aisinfo.com
                                                                           Oct 05 2023 21:04:30   JPMorgan Chase Bank, National Association,
                                                                                                  Chase Records Center, At: Correspondence, Mail
                                                                                                  Code LA4-5555, 700 Kansas Lane, Monroe, LA
                                                                                                  71203
519766797        + Email/Text: RASEBN@raslg.com
                                                                           Oct 05 2023 20:59:00   JPMorgan Chase Bank, N.A., s/b/m/t Chase Bank
                                                                                                  USA, N.A., c/o Robertson, Anschutz, Schneid,,
                                                                                                  Crane & Partners, PLLC, 6409 Congress Avenue,
                                                                                                  Suite 100, Boca Raton, FL 33487-2853
519763720          Email/PDF: Citi.BNC.Correspondence@citi.com
                                                                           Oct 05 2023 21:04:02   Jewelers Reserve/CBNA, 5800 S Corporate Pl,
                                                                                                  Sioux Falls, SD 57108-5027
519763724          Email/Text: BarclaysBankDelaware@tsico.com
                                                                           Oct 05 2023 20:59:00   Juniper Mastercard, PO Box 13337, Philadelphia,
                                                                                                  PA 19101-3337
519763725          Email/Text: christina.bruno@kineticadvantage.com
                                                                           Oct 05 2023 20:59:00   Kinetic Advantage Inc., 10333 N Meridian St,
                                                                                                  Indianapolis, IN 46290-1150
519763726          Email/Text: Documentfiling@lciinc.com
                                                                           Oct 05 2023 20:58:00   Lending Bank, 595 Market St Ste 200, San
                                                                                                  Francisco, CA 94105-2802
519790093        + Email/Text: Documentfiling@lciinc.com
                                                                           Oct 05 2023 20:58:00   LendingClub Bank, NA, P.O. BOX 884268, Los
                                                                                                  Angeles, CA 90088-4268
519763727        ^ MEBN
                                                                           Oct 05 2023 20:52:59   Lightstream, PO Box 849, Wilson, NC
                                                                                                  27894-0849
519763728          Email/Text: Bankruptcy@coxinc.com
                                                                           Oct 05 2023 20:58:00   Manheim NY Metro Skyline Inc., 100 US
                                                                                                  Highway 46, Fairfield, NJ 07004-3217
519785237        + Email/Text: bankruptcy@discoverdsc.com
                                                                           Oct 05 2023 20:58:00   NextGear Capital, Inc., 11799 North College
                                                                                                  Avenue, Carmel, IN 46032-5605
519763729          Email/Text: bankruptcy@discoverdsc.com
                                                                           Oct 05 2023 20:58:00   Nextgear Capital INc., 11799 N College Ave,
                                                                                                  Carmel, IN 46032-5605
519818570          Email/PDF: PRA_BK2_CASE_UPDATE@portfoliorecovery.com
                                                                   Oct 05 2023 21:04:35           Portfolio Recovery Associates, LLC, PO Box
                                                                                                  41067, Norfolk, VA 23541
519818571          Email/PDF: PRA_BK2_CASE_UPDATE@portfoliorecovery.com
                                                                   Oct 05 2023 21:15:08           Portfolio Recovery Associates, LLC, PO Box
                                                                                                  41067, Norfolk, VA 23541, Portfolio Recovery
                                                                                                  Associates, LLC, PO Box 41067, Norfolk, VA
                                                                                                  23541
519848625          Email/PDF: PRA_BK2_CASE_UPDATE@portfoliorecovery.com
                                                                   Oct 05 2023 21:04:38           Portfolio Recovery Associates, LLC, c/o Juniper,
                                                                                                  POB 41067, Norfolk VA 23541
519763731          Email/Text: signed.order@pfwattorneys.com
                                                                           Oct 05 2023 20:59:00   Pressler and Pressler, 7 Entin Rd, Parsippany, NJ
                                                                                                  07054-5020
519845561        + Email/Text: bncmail@w-legal.com
                                                                           Oct 05 2023 21:00:00   PROSPERUM CAPITAL PARTNERS LLC, C O
                                                                                                  WEINSTEIN & RILEY, PS, 2001 WESTERN
                                                                                                  AVENUE, STE 400, SEATTLE, WA 98121-3132
519753941          Email/PDF: resurgentbknotifications@resurgent.com
                                                                           Oct 05 2023 21:04:02   Pagaya Ai Debt Grantor Trust 2022-3, Resurgent
                                                                                                  Capital Services, PO Box 10587, Greenville, SC
                                                                                                  29603-0587
519769763          Email/PDF: resurgentbknotifications@resurgent.com
                                                                           Oct 05 2023 21:04:07   Resurgent Capital Services as servicing agent for,
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Date Rcvd: Oct 05, 2023                                            Form ID: 137                                                         Total Noticed: 91
                                                                                                            Resurgent Capital Services, PO Box 10587,
                                                                                                            Greenville, SC 29603-0587
519763737                Email/PDF: SoFiBKNotifications@resurgent.com
                                                                                   Oct 05 2023 21:04:39     SOFI Bank, 2750 E Cottonwood Pkwy Ste 300,
                                                                                                            Salt Lake City, UT 84121-7285
519763739                Email/PDF: ais.sync.ebn@aisinfo.com
                                                                                   Oct 05 2023 21:04:21     SYNCB/Care Credit, PO Box 965036, Orlando,
                                                                                                            FL 32896-5036
519763735                Email/Text: DeftBkr@santander.us
                                                                                   Oct 05 2023 21:00:00     Santander Bank, Mail Code 10-421-CN2, PO Box
                                                                                                            12646, Reading, PA 19612-2646
519744480             + Email/Text: DeftBkr@santander.us
                                                                                   Oct 05 2023 21:00:00     Santander Bank, N.A., 3 Huntington Quadrangle,
                                                                                                            Suite 101N, Melville, NY 11747-4623
519787230             + Email/Text: DeftBkr@santander.us
                                                                                   Oct 05 2023 21:00:00     Santander Bank, N.A., 450 Penn Street, MC:
                                                                                                            PA-450-FB1, Reading, PA 19602-1011
519741525             + Email/PDF: ais.sync.ebn@aisinfo.com
                                                                                   Oct 05 2023 21:04:26     Synchrony Bank, c/o of PRA Receivables
                                                                                                            Management, LLC, PO Box 41021, Norfolk, VA
                                                                                                            23541-1021

TOTAL: 50


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
519763716                     Fox Business Funding, 1920 E Hallandale Beach Blvd Ste 503
519815701       *+            Department of Treasury, Internal Revenue Service, P O Box 7346, Philadelphia, PA 19101-7346
519799164       *+            Thrift Investment Corporation, 720 King George's Post Rd., PO Box 538, Fords, NJ 08863-0538
519870417       ##            Camilo A. Quintero, 721 6th St, Carlstadt, NJ 07072-1731
519763740       ##            Thrift Investment Corp., 720 King George Rd, Fords, NJ 08863-1974

TOTAL: 1 Undeliverable, 2 Duplicate, 2 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Oct 07, 2023                                        Signature:           /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on October 5, 2023 at the address(es) listed
below:
Name                             Email Address
Donna L. Thompson
                                 on behalf of Plaintiff Automotive Finance Corporation donna.thompson@dlthompsonlaw.com dlthompsonlaw@aol.com

Donna L. Thompson
                                 on behalf of Creditor Automotive Finance Corporation donna.thompson@dlthompsonlaw.com dlthompsonlaw@aol.com

Douglas J. McDonough
                                 on behalf of Creditor Bank of America NA dmcdonough@flwlaw.com

Drew S. McGehrin
            Case 22-18303-JKS          Doc 161 Filed 10/07/23 Entered 10/08/23 00:15:46                                          Desc
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Date Rcvd: Oct 05, 2023                                     Form ID: 137                                                         Total Noticed: 91
                          on behalf of Plaintiff Vero Finance Technologies Inc. d/b/a Lever Auto dsmcgehrin@duanemorris.com

Drew S. McGehrin
                          on behalf of Creditor Vero Finance Technologies Inc. dsmcgehrin@duanemorris.com

Eamonn O'Hagan
                          on behalf of Creditor United States of America (Internal Revenue Service) eamonn.ohagan@usdoj.gov

John O'Boyle
                          on behalf of Joint Debtor Vivianne C. Antunes joboyle@norgaardfirm.com
                          sferreira@norgaardfirm.com;kcimmino@norgaardfirm.com;crose@norgaardfirm.com;dtakach@norgaardfirm.com;o'boyle.johnb1
                          24931@notify.bestcase.com

John O'Boyle
                          on behalf of Debtor Alexandre J. Dacosta joboyle@norgaardfirm.com
                          sferreira@norgaardfirm.com;kcimmino@norgaardfirm.com;crose@norgaardfirm.com;dtakach@norgaardfirm.com;o'boyle.johnb1
                          24931@notify.bestcase.com

John O'Boyle
                          on behalf of Defendant Alexandre J. Dacosta joboyle@norgaardfirm.com
                          sferreira@norgaardfirm.com;kcimmino@norgaardfirm.com;crose@norgaardfirm.com;dtakach@norgaardfirm.com;o'boyle.johnb1
                          24931@notify.bestcase.com

John O'Boyle
                          on behalf of Defendant Vivianne C. Antunes joboyle@norgaardfirm.com
                          sferreira@norgaardfirm.com;kcimmino@norgaardfirm.com;crose@norgaardfirm.com;dtakach@norgaardfirm.com;o'boyle.johnb1
                          24931@notify.bestcase.com

John O'Boyle
                          on behalf of Interested Party BAV AUTO L.L.C. joboyle@norgaardfirm.com,
                          sferreira@norgaardfirm.com;kcimmino@norgaardfirm.com;crose@norgaardfirm.com;dtakach@norgaardfirm.com;o'boyle.johnb1
                          24931@notify.bestcase.com

John O'Boyle
                          on behalf of Interested Party Alexandre Dacosta and Vivianne Antunes joboyle@norgaardfirm.com
                          sferreira@norgaardfirm.com;kcimmino@norgaardfirm.com;crose@norgaardfirm.com;dtakach@norgaardfirm.com;o'boyle.johnb1
                          24931@notify.bestcase.com

John O'Boyle
                          on behalf of Plaintiff XL Funding LLC dba Axle Funding, LLC f/k/a Auction Credit Enterprises, LLC
                          joboyle@norgaardfirm.com,
                          sferreira@norgaardfirm.com;kcimmino@norgaardfirm.com;crose@norgaardfirm.com;dtakach@norgaardfirm.com;o'boyle.johnb1
                          24931@notify.bestcase.com

John O'Boyle
                          on behalf of Debtor BAV AUTO L.L.C. joboyle@norgaardfirm.com
                          sferreira@norgaardfirm.com;kcimmino@norgaardfirm.com;crose@norgaardfirm.com;dtakach@norgaardfirm.com;o'boyle.johnb1
                          24931@notify.bestcase.com

John R. Morton, Jr.
                          on behalf of Creditor Thrift Investment Corporation ecfmail@mortoncraig.com mortoncraigecf@gmail.com

Joseph H. Lemkin
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